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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION
UNITED STATES OF AMERICA

        VS                                                   CASE NO. 93-cr-03006-03/RV

ROBERT L. SMITH

                               REFERRAL AND ORDER

Referred to Senior Judge Roger Vinson on December 15, 2005
Motion/Pleadings: MOTION for relief from Judgment or Order Federal Rule Civil Procedure
60(b)(1)(6) mistake Gonzalez v. Crosy, US, No. 04-6432, June 23, 2005
Filed by Defendant                         on 11/15/2005          Doc.#   454
RESPONSES:
United States                              on 12/14/2005          Doc.#   455
                                           on                     Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                           WILLIAM M. McCOOL, CLERK OF COURT

                                           s/Jerry Marbut
LC (1 OR 2)                              Deputy Clerk: Jerry Marbut

                                       ORDER
Upon    consideration   of   the   foregoing,   it   is    ORDERED   this   15th    day   of
   December             , 2005, that:
(a) The relief requested is DENIED.
(b) The Booker/Blakely decisions are not retroactive, so this motion must be
treated as successive under Section 2255, for which jurisdiction is lacking
without prior Eleventh Circuit authorization.



                                           /s/ Roger Vinson
                                                          ROGER VINSON
                                              Senior United States District Judge
